                Case:
ILND 450 (Rev. 10/13)     3:18-cv-50155
                      Judgment in a Civil Action   Document #: 11 Filed: 08/17/18 Page 1 of 1 PageID #:44

                                        IN THE UNITED STATES DISTRICT COURT
                                                      FOR THE
                                           NORTHERN DISTRICT OF ILLINOIS

Richard Serrano,

Plaintiff(s),
                                                                   Case No. 18 C 50155
v.                                                                 Judge Frederick J. Kapala

Jason Hermeyer, et al.,

Defendant(s).

                                                    JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                   in favor of plaintiff(s)
                   and against defendant(s)
                   in the amount of $       ,

                             which          includes       pre–judgment interest.
                                            does not include pre–judgment interest.

         Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

         Plaintiff(s) shall recover costs from defendant(s).


                   in favor of defendant(s)
                   and against plaintiff(s)
.
         Defendant(s) shall recover costs from plaintiff(s).


                other: Judgment of dismissal without prejudice for plaintiff's failure to comply with the court's
order of July 6, 2018, is entered.

This action was (check one):

     tried by a jury with Judge     presiding, and the jury has rendered a verdict.
     tried by Judge     without a jury and the above decision was reached.
     decided by Judge       on a motion



Date: 8/17/2018
                                                                Thomas G. Bruton, Clerk of Court
                                                                /S/ Susan Bennehoff, Deputy Clerk
